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                            EXHIBIT 2
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      .'
      Unid State Bankpæy CoUJoutun Disict o/New York
      Lelun BrothelS Holdings Claims Procesng Ceter                                              LEHMAN SECURITIES PROGRAMS
      c/o Epiq Bairuptcy Solutions LLC                                                         AMENDED PROOF OF CLAIM
      FDR Station, P.O. Box S076
      New Yo NY 10150-5076
     In Re:                                            Chapter i i
     Lehman Brotheis Holdings Inc., et aI.,            Case No 08-13SSS(JMP)                                  Fi US - Sa 0I of No Yor
     Debtors.                                         (Joint! Admmistere                                         lØma ~ri Ho Inc Et AI _ _ __ _
                                                                                                                        08135 (JMp) 000006765
     Note: This form may not be used to fie claims oiher than those
     based on Lehman Programs Seeurities as listed on
     htl ://www.lehman-doeket.eomasofJuly 17,2009                                                              ~III ~miiiiiiii ~ IIII ~

     Name and addres of       Creitor: (and name and addres where notices itould be sent if different frm
                                                                                                                          ~ Oiec uiis box to indicate that this
     Creditor)                                                                                                            claim amends a previously fied claim.
                 Kreissparkasse Heinsberg
                 See Annex A for further information                                                                      Court a'im Numb", 60569
                                                                                                                            (Ifknown)

                                                                                                                          Filed orr 10/30/09
     Tel hone number: Email Addres:
     Name an addr where payment should be sent(if different from above)
                                                                                                                          o Check this box ¡fyou ar aware tha
                                                                                                                          anyone else has fied a proof of   claim
                                                                                                                          relating to your claim. Attach copy of
                                                                                                                          statemen giving parculars.
     Tel hone number.                             Email Address:
     1. Provide the total amount of      your claim based on Lehman Progras Securities. Your claim amount must be the amount owed under your Le
     Progrms Securities as ofSeplember 15,2008, whether you owned the Lean Progrms Securities on Septembe 15. 2008 or acquire them thereaftr,
     and whether such claim mature or becme fixt:d or liquidated befort: or after September 15.2008. The claim amount must be slated in United States
     dollars, using the exchange rate as applicable on September 15,2008. If        you are filing this claim with repe to more thn one Leluan Progr Securty,
    yon may attch a schedule with the claim amounts for each Lehman Progrs Security to which this claim relates.
    AmountorCI.lm, $LSe ~~~e1 B for (Required)
     o Check this box if       the ar~,tnt ofcl~im includes interet or other     charges in additin to the principal amount due on me Lehman Programs Securities
    2. Provide the International Securties Identification Number (ISIN for each Lelu Progrms Security to which this claim relates. rfyou ar fiing
    this claim with reect to more than one Leluan Progra Security, you may atth a schedule with the ISINs for th Lehman Prgrms Securities 10
    which ths claim relates.

    International Securities Identificition Number LSI
                                                                    ,(See Annex B for det~Ll.~)
    3. Prvide the Oeatrea Bank Blocking Number, a Euroclear Bank Electronic Reference Number, or other deptory blocking reference number, as
    appropriate (each, a "Blocking Number") for each Lehman Progrms              Security for which you are fiing a claim. You must acqtre a Blocking Number
    from your accntholder (i.e. the bank, broker or other entity tht holds such securites on your behalf). lfyou are filing this claim with repec to more
    than one Lehman Programs Security, you may attlch a schedule with the Blocking Numbers for each Lehman Programs Security to which th claim
    relates.

    Clearsteam Bank Blocking Number, Euroclear Bank Electronic Instrction Reference Number and or other depository blockJng reference
    number:
      (See Annex B for details)                                                      e ulrul
    4. Prvide the Clt:tr Bank, Euroclea Bank or other deposilOry partcipant accunt number related 10 your Lehma Programs        Securities for which
    you are 61ing this claim. You must acquire the relevat Cleatram Bank, Euroclear Bank or other depositoiy partcipant account numbe from your
    accuntholder (i.e. the bank, broker orother entity that holds such seurities on your behalf). Beneficial hokIers should not provide thor personal account
    numbers.
    Accountholden Euroclear Bank, Oearstream Bank or Other Depository Participant Account Number:
    (See Annex B for details) R. UIT'
    S. Consent to Euroclear Bank Clearstreiim Bank or Other Depository: By filing this claim. you                               FOR COURT USE ONLY
    consent to, and are deemed to have authoried. Eurolear Bank, Oearstream Ban or other depsitory to
    disclose your identity and holding of      Lehman Prgrams Securities to th Debtors for the purpse of                             FILED I RECEIVED
    reonciling claims and distributions.
                          Signature: The person filing this claim must sign it Sign and print name and title, if any,
                                                                                                                                        SEP 07 2011
    §ejtembe              of the critor or other persn authorized to file this claim and state addre and telephooe
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                                                   Pg 3 of 11




   ~TED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK
   ---------------------------------------------x
   In re Chapter 11
   LEHMAN BROTHERS HOLDINGS INC., et ai', Case No. 08-13555 (JM)
                                            Debtors. Jointly Administered
   -------------------------------------------------------x

                  ANX A TO LEHMAN PROGRAMS SECURTIES AMENDED
                       PROOF OF CLAIM OF KREISSPARSSE HEINSBERG

             Kreissparkasse Heinsberg (the "Claimant") files this amended proof of claim (the

   "Amended Proof of Claim") against Lehman Brothers Holdings Inc. ("LBHI" and, together

   with its affliated debtors in the above-referenced chapter 11 cases, the "Debtors") as a holder

   of certain Lehman Programs Securities (used herein throughout as defined in the Court's

   Order Pursuant to Section 502(b)(9) of the Bankruptcy Code, Bankruptcy Rules 2012(a)(7),

   (t), (1), and 3003(c)(3), and Local Rule 2002-I(e) Establishing Deadline for Filing Proofs of

   Claims and Approving the Form and Manner of Notice Thereof (the "Bar Date Order")

   (Docket No. 4271)).

   A. Background

              1. On September 15, 2008 (the "Petition Date"), LBHI commenced this case by

   filing a voluntary petition for relief    under chapter i I of   title II of   the United States Code (the

   "Bankruptcy Code"). On July 2, 2009, the Court entered the Bar Date Order. The Bar Date

   Order, among other things, established November 2, 2009, at 5:00 p.m. (prevailing Eastern

   Time) as the last date and time for each person or entity to fie a proof of claim based on

   securities identified on the "Lehman Programs Securities" list available on
   http://ww.lehman-docket.comasofJuly 17,2009 (the "Lchman Programs Securities").
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    B. Nature of        the Claims

              2. The Claimant is a beneficial holder of Lehman Programs Securities issued or


    guaranteed by LBHI. Set forth in Annex B are the Lehman Programs Securities held by the

    Claimant organized by (i) the amount owed to the Claimant (but see below) in both Euros and

    US Dollars (the lalter calculated using a an exchange rate of$I.4151/Euro as provided by the

    European Central Bank as of September IS, 2008), (ii) an indication of whether such amount

    includes interest, (iii) the applicable International Securities Identification Number ("ISIN"),

    (iv) the related Euroclear Electronic Instruction Reference Number, Clearstream Blocking

    Reference Number, or other depository blocking reference number (as applicable, the

    "Blocking Number"), and (v) the relevant depository participant account number of each LPS

    Holder's respective depository accountholder.


              3. The Claimant claims all amounts owed to the Claimant by LBHI in connection


   with the Lehman Programs Securities the Claimant holds, whether or not such amount is

    reflected in the figures set forth in Annex B. As of the Petition Date, LBHI was and stil is

    indebted to the Claimant for the following amounts and for all other amounts which have

   accrued since the Petition Date, including without limitation post-petition interest, fees and

   costs:

              (a) principal, interest, and any unpaid fees owing under the Lehman Programs
    Securities held;

              (b) fees and costs (including without limitation legal fees and expenses) incurred
   in connection with recovering on such Lehman Programs Securities to the extent allowable
   under the Bankruptcy Code; and

              (c) all other amounts due and payable under or arising in connection with such
   Lehman Programs Securities, including, without limitation, damages for breach, damages
   causcd by acts or omissions by LBHI and its affliates, and/or any guaranteed obligor and its
   affliates, post-petition interest, premiums, fees, and costs to the extent allowable under the
   Bankruptcy Code.




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           4. The amounts described in paragraphs 3(a), 3(b) and 3(c) are made without

   prejudice to any other amounts accruing after the Petition Date, or based upon facts and

   circumstances discovered after the Petition Date.

           5. Additionally, the Claimant asserts against LBHI unliquidated claims for

   damages caused by, or based upon, (a) any liabilty LBHI has or may have arising under or in

   connection with the Lehman Programs Securities held, (b) any misstatement or omission ofa

   material fact in any securities filings and/or financial" statements; (c) any wrongful act or

   misconduct committed by LBHI (or the guaranteed obligor) that has resulted or wil result,

   directly or indirectly, in injury 10 the Claimant, including, without limitation, breach of any

   fiduciary or other duty that LBHI (and/or such guaranteed obligor) may now owe or have

   ever owed to the Claimant; and (d) fraud or misrepresentation in connection with the sale of

   such Lehman Programs Securities.

          6. The claims asserted herein are not subject to any setoff or counterclaim by the

   Debtors or the guaranteed obligor. No judgment has been rendered on the claims asserted

   herein. The Claimant holds no security interests in connection with, and has not received any

   security for, the claims asserted herein.

   C. Supporting Documentation

          7. The Bar Date Order provides that persons or entities that file claims based on

   any Lehman Programs Security need not attach or submit any documentation supporting any

   claim based on such Lehman Programs Security. Accordingly, no supporting documentation

   is attached hereto. The Claimant has authorized Mound Cotton Wollan & Greengrass to fie

   this Amended Proof of Claim on its behalf. The power of attorney, which is includcd in and

   based on a retainer letter has not been submitted because of confidentiality concerns but is

   available upon request by the Debtors or other appropriate part in interest.




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   D. Reservation of                Rights and Amendments

             8. In fiing this Amended Proof of Claim, the Claimant does not submit itself to
                                    --
   the jurisdiction of the Court for any purpose other than to assert the claims described herein.

   To the extent such claims may also be asserted against any other Debtor in these jointly-

   administered proceedings under law or equity, including but not limited to, in the event of   the

   substantive consolidation of some or all of the Debtors, this Amended Proof of Claim also

   constitutes a claim by the Claimant against any and all such other Debtors. Additionally, any

   common law indemnity claims against all such Debtors are expressly preserved.

             9. The execution and fiing of this Amended Proof of Claim is not intended to be


   and should not be construed as (a) a waiver or release of any rights of the Claimant against

   any other entity or person liable for all or part of the claims asserted herein, (b) a waiver of

   the right of the Claimant to withdraw the reference with respect to the subject matter of the

   claims asserted herein, any objection or other proceedings commenced with respect thereto or

   any other proceeding commenced in these cases against or otherwise involving the Claimant,

   (c) an election of remedy by the Claimant that waives or otherwise affects any other remedy

   ofthe Claimant, (d) a consent by the Claimant to ajury trial in the Court or any other court in

   any proceeding as to any and all matters so triable herein or in any case, controversy or

   proceeding related hereto, pursuant to 28 U.S.C. § l57(e) or otherwise, (e) a waiver of the

   right of the Claimant to a trial by jury in any proceeding so triable herein or in any case

   controversy or proceeding related hereto, notwithstanding the designation or not of such

   matters as "core proceedings" pursuant to 28 U.S.c. § l57(b)(2), and whether such jury trial

   is pursuant to statute or the United States Constitution, (I) a waiver of the right of the


   Claimant to have final orders in non-core matters entered only after de novo review by a

   District Court Judgment, (g) a waiver of any past, present or future event of default under any

   applicable credit documentation, (h) a statement of all legal theories, causes of action or facts




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   supporting the claims of the Claimant, (i) a waiver or limitation of any rights, claims or


                           - -
   causes of action by the Claimant, 0) a waiver of any right to the subordination or

   recharacterization, in favor of the Claimant, of any indebtedness or liens held by any creditors

   of the Debtors or creditors of any of              the Debtors' affliates, or any guaranteed obligor or any

   affliate of such obligor, or (k) duplicative of or replacing any other proof of claim filed either

   by the Claimant or by any indenture trustee or entity performing similar functions.

              10. The Claimant expressly reserves, and does not waive, any right to amounts for

   any claims asserted herein, and reserves all rights, including, without limitation, the rights (a)

   to fie any separate or additional proof of claim with respect to the claims set forth herein or


   otherwise (which proof of claim, if so fied, shall not be deemed to supersede this proof of

   claim unless expressly so stated therein), (b) to amend, modiJY or supplement this Proof of

   Claim in any respect, including with respect to the filing of an additional or amended claim

   for the purpose of fixing and liquidating any contingent or unliquidated claim set forth herein,

   (c) to file additional proofs of claim in respect of additional amounts or for any other reason,

   and (d) to fie proofs of claim against third parties, including, without limitation, any


   affliates of     the Debtors or guaranteed obligor.

              11. In the event that any order of             the Bankruptcy Court is entered which effects (a)

   a recharacterization or subordination of claims, (b) substantive consolidation of any or all of

   the Debtors with any or all of the Debtors and/or the Debtors' affliates, or (c) any other

   similar remedy, the rights of the Claimant to fie additional proofs of claim or amended

   proofs of claim against any or all of the Debtors and any or all of the Debtors' affliates is

   reserved.




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   E. Notice

              12.
                              - -
                        All notices in respect of



                        Arthur M. Handler
                                                          this proof of claim should be forwarded to:


                        Robert S. Goodman
                        Mound Cotton Wollan & Greengrass
                        One Batlery Park Plaza
                        New York, New York 10004
                        Phone: 212-804-4200
                        Email address:ahandler(1moundcotton.com
                        Email address:rgoodman(1moundcotton.com

                        Kreissparkasse Heinsberg
                        attn. Udo Mitsch
                        Hermann-Joscf-Gonnanns-Str. 14-.1 6
                        41812 Erkelenz
                        Germany
                        Email Address:                            udo.mitsch(1kskhs.de
                        Telephone Number:                         +492431804490

   F. Additional Statement

                        The Proof of Claim, which bears court claim no. 60569, and this Amended

   Proof of Claim are not duplicative of any other proof of claim fied in these proceedings in

   that this creditor has not filed or caused to be fied any other proof of claim in these

   proceedings other than Proof of              Claim 60569 and this Amended Proof of       Claim.




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  "
               ANNEX B TO LEHMAN PROGRAS SECURITES PROOF OF ClAM OF KREISSPARKAE HEINSBERG




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                    MOUND COTTON WOLLAN & GREEN                                     GRASS
                                                    COUNSE.LLORS AT LAW
                                                                                                  NEW YORK. NY
                                                                                                   NEWARK, NJ
                                              ONE BATTERY PARK PLAZA
                                                                                                 GARDEN CITY, NY
                                            NEW YORK, NY 10004-1486                            SAN FRANCISCO. CA
                                                                                               FORT LAUDERDALE, FL
Robert S. GoodmiJ                                    (212) 804-4200
Parner
(212) 804-4251                                     FAX (212) 344-8066
rgoodinanaYoundcotton.com
                                                  WW.MOUNDCOTTON.COM



                                                                          September 6, 20 II
FEDERAL EXPRESS

Epiq Banuptcy Solutions, LLC
Att: Lehman Brothers Holdings Claims Processing
757 Third Avenue, 3rd Floor
New York, New York 10017

                            Re: In Re Lehman Brothers Holdings Inc., et aI., Debtors
                                   Chapter 11 Case No. 08-13555 OMP)
Dear Sir/Madam:

              On behalf of Kreissparkasse Heinsberg, enclosed please find an amended proof of
claim which amends previously filed claim number 60569.




RSG:sd
                                                                          ~j
                                                                          Very truly yours,


                                                                          Robert S. GO~
Enclosure
(3324.0001)
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